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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF KANSAS




UNITED STATES OF AMERICA,

                     Plaintiff/Respondent,

v.                                                Criminal Case No: 09-20119-14-JWL
                                                  Civil Case No:    11-2697-JWL

JESUS RIOS-MENDOZA (14),

                     Defendant/Movant.

                                        ORDER

        The defendant Jesus Rios-Mendoza filed a motion under 28 U.S.C. § 2255 to vacate,

set aside, or correct sentence by a person in federal custody (doc. #821) on December 21,

2011.

        IT IS THE ORDER OF THE COURT that the United States shall have until January

27, 2012 to file a response to defendant’s motion (doc. #821) and the defendant shall have

until February 27, 2012 to reply thereto.

        IT IS SO ORDERED.

        Dated in Kansas City, Kansas this 27th day of December, 2011.



                                            s/ John W. Lungstrum
                                            John W. Lungstrum
                                            District Judge
